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JS 44 (Rev. 10/20)
                                                                               CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THE FORM.)

I. (a) PLAINTIFFS                                                                                       DEFENDANTS
           Bensalem Lodging Associates LLC                                                              Holiday Hospitality Franchising, LLC, Six Continents Hotels, Inc. d/b/a
                                                                                                        Intercontinental Hotels Group and IHG Owners Association, Inc.

       (b) County of Residence of First Listed Plaintiff                        Bucks                   County of Residence of First Listed Defendant                              DeKalb
                                 (EXCEPT IN U.S. PLAINTIFF CASES)                                                         (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                        NOTE:     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                  THE TRACT OF LAND INVOLVED.
       (c) Attorney’s (Firm Name, Address, and Telephone Number)                                        Attorneys (If Known)
           White and Williams LLP
           1650 Market St., One Liberty Place, Suite 1800, Philadelphia, PA 19103
           (215) 864-7000
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                       III. CITIZENSHIP OF PRINCIPAL PARTIES                              (Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                       and One Box for Defendant)
  1.     U.S. Government             3     Federal Question                                                                         PTF       DEF                                         PTF     DEF
          Plaintiff                           (U.S. Government Not a Party)                       Citizen of This State               1         1     Incorporated or Principal Place       4       4
                                                                                                                                                         of Business In This State

  2.     U.S. Government             4     Diversity                                              Citizen of Another State              2        2    Incorporated and Principal Place       5         5
          Defendant                           (Indicate Citizenship of Parties in Item III)                                                              of Business In Another State

                                                                                                  Citizen or Subject of a               3        3    Foreign Nation                         6         6
                                                                                                     Foreign Country
IV. NATURE OF SUIT                 (Place an “X” in One Box Only)                                                                              Click here for: Nature of Suit Code Descriptions.
         CONTRACT                                               TORTS                                 FORFEITURE/PENALTY                         BANKRUPTCY                     OTHER STATUTES
  110 Insurance                        PERSONAL INJURY                  PERSONAL INJURY               625 Drug Related Seizure              422 Appeal 28 USC 158            375 False Claims Act
  120 Marine                          310 Airplane                      365 Personal Injury -             of Property 21 USC 881            423 Withdrawal                   376 Qui Tam (31 USC
  130 Miller Act                      315 Airplane Product                  Product Liability         690 Other                                 28 USC 157                       3729(a))
  140 Negotiable Instrument               Liability                     367 Health Care/                                                                                     400 State Reapportionment
  150 Recovery of Overpayment         320 Assault, Libel &                  Pharmaceutical                                                    PROPERTY RIGHTS                410 Antitrust
      & Enforcement of Judgment           Slander                           Personal Injury                                                 820 Copyrights                   430 Banks and Banking
  151 Medicare Act                    330 Federal Employers’                Product Liability                                               830 Patent                       450 Commerce
  152 Recovery of Defaulted               Liability                     368 Asbestos Personal                                               835 Patent - Abbreviated         460 Deportation
      Student Loans                   340 Marine                            Injury Product                                                      New Drug Application         470 Racketeer Influenced and
      (Excludes Veterans)             345 Marine Product                    Liability                                                       840 Trademark                        Corrupt Organizations
  153 Recovery of Overpayment             Liability                    PERSONAL PROPERTY                       LABOR                        880 Defend Trade Secrets         480 Consumer Credit
      of Veteran’s Benefits           350 Motor Vehicle                 370 Other Fraud               710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
  160 Stockholders’ Suits             355 Motor Vehicle                 371 Truth in Lending              Act                                                                485 Telephone Consumer
  190 Other Contract                      Product Liability             380 Other Personal            720 Labor/Management                    SOCIAL SECURITY                    Production Act
  195 Contract Product Liability      360 Other Personal                    Property Damage               Relations                         861 HIA (1395ff)                 490 Cable/Sat TV
  196 Franchise                           Injury                        385 Property Damage           740 Railway                           862 Black Lung (923)             850 Securities/Commodities/
                                      362 Personal Injury -                 Product Liability         751 Family and Medical                863 DIWC/DIWW (405(g))               Exchange
                                          Medical Malpractice                                             Leave Act                         864 SSID Title XVI               890 Other Statutory Actions
      REAL PROPERTY                       CIVIL RIGHTS                  PRISONER PETITIONS            790 Other Labor Litigation            865 RSI (405(g))                 891 Agricultural Acts
  210 Land Condemnation               440 Other Civil Rights             Habeas Corpus:               791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                     441 Voting                         463 Alien Detainee               Income Security Act                FEDERAL TAX SUITS               895 Freedom of Information
  230 Rent Lease & Ejectment          442 Employment                     510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff            Act
  240 Torts to Land                   443 Housing/                           Sentence                                                           or Defendant)                896 Arbitration
  245 Tort Product Liability              Accommodations                 530 General                                                        871 IRS-Third Party              899 Administrative Procedure
  290 All Other Real Property         445 Amer. w/Disabilities -         535 Death Penalty                 IMMIGRATION                          26 USC 7609                      Act/Review or Appeal of
                                          Employment                     Other:                        462 Naturalization Application                                            Agency Decision
                                      446 Amer. w/Disabilities -         540 Mandamus & Other          465 Other Immigration                                                 950 Constitutionality of
                                          Other                          550 Civil Rights                  Actions                                                               State Statutes
                                      448 Education                      555 Prison Condition
                                                                         560 Civil Detainee -
                                                                             Conditions of
                                                                             Confinement
V. ORIGIN (Place an “X” in One Box Only)
   1 Original                   2 Removed from               3 Remanded from                  4 Reinstated or             5 Transferred from               6 Multidistrict          8 Multidistrict
     Proceeding                   State Court                  Appellate Court                  Reopened                    Another District                 Litigation               Litigation -
                                                                                                                            (specify)                        Transfer                 Direct File
                                         Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdiction statutes unless diversity) :
                                         15 U.S.C. § 1 et seq.
VI. CAUSE OF ACTION                      Brief description of cause:
                                         Violation of Sherman Act, Breach of Contract, Breach of Fiduciary Duty
VII. REQUESTED IN                             CHECK IF THIS IS A CLASS ACTION                      DEMAND $ 100,000,000                              CHECK YES only if demanded in complaint:
      COMPLAINT:                              UNDER RULE 23, F.R.Cv.P.                                                                               JURY DEMAND:          Yes       No
                                                                       JUDGE                                                            DOCKET NUMBER
VIII. RELATED CASE(S)                         (See instructions):
       IF ANY
DATE                                                                       SIGNATURE OF ATTORNEY OF RECORD
               June 29, 2021
FOR OFFICE USE ONLY
   RECEIPT #                             AMOUNT                                APPLYING IFP                                 JUDGE                           MAG. JUDGE
                              Case 2:21-cv-02882-NIQA   Document
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                                                                        COURT
                                                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                            DESIGNATION FORM
                      (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                      Bensalem Lodging Associates LLC, 3327 Street Rd., Bensalem, PA 19020
Address of Plaintiff: ______________________________________________________________________________________________
                      Holiday Hospitality Franchising, LLC, Three Ravinia Dr., Suite 100, Atlanta, GA 30346
Address of Defendant: ____________________________________________________________________________________________
                                                                         Pennsylvania
Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                       Judge: _________________________________                     Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                           Yes                    No
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                          Yes                    No
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier                             Yes                    No
       numbered case pending or within one year previously terminated action of this court?

4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                          Yes                    No
       case filed by the same individual?

I certify that, to my knowledge, the within case               is /   ●   is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
           June 29, 2021
DATE: __________________________________                       __________________________________________                                        202701
                                                                                                                                ___________________________________
                                                                           Attorney-at-Law / Pro Se Plaintiff                                Attorney I.D. # (if applicable)


CIVIL: (Place a √ in one category only)

A.            Federal Question Cases:                                                         B.   Diversity Jurisdiction Cases:

      1.     Indemnity Contract, Marine Contract, and All Other Contracts                        1.    Insurance Contract and Other Contracts
      2.     FELA                                                                                2.    Airplane Personal Injury
      3.     Jones Act-Personal Injury                                                           3.    Assault, Defamation

✔      4.     Antitrust                                                                           4.    Marine Personal Injury
      5.     Patent                                                                              5.    Motor Vehicle Personal Injury
      6.     Labor-Management Relations                                                          6.    Other Personal Injury (Please specify): _____________________
      7.     Civil Rights                                                                        7.    Products Liability
      8.     Habeas Corpus                                                                       8.    Products Liability – Asbestos
      9.     Securities Act(s) Cases                                                             9.    All other Diversity Cases
      10.    Social Security Review Cases                                                               (Please specify): ____________________________________________
      11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                              ARBITRATION CERTIFICATION
                                                    (The effect of this certification is to remove the case from eligibility for arbitration.)

                    Justin E. Proper
I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:

     
     ✔        Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

             Relief other than monetary damages is sought.


           June 29, 2021
DATE: __________________________________                       __________________________________________                                        202701
                                                                                                                                ___________________________________
                                                                           Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                   CASE MANAGEMENT TRACK DESIGNATION FORM

Bensalem Lodging Associates LLC                          :      CIVIL ACTION
                                                         :
                      v.                                 :
Holiday Hospitality Franchising, LLC, Six                :
Continents Hotels, Inc. d/b/a Intercontinental           :      NO.
Hotels Group, and IHG Owners Association,                :
Inc.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on the
plaintiff and all other parties, a case management track designation form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus  Cases brought under 28 U.S.C. §2241 through §2255.                                (     )

(b) Social Security  Cases requesting review of a decision of the Secretary of Health                (     )
    and Human Services denying plaintiff Social Security Benefits.

(c) Arbitration  Cases required to be designated for arbitration under Local Civil Rule 53.2.        (     )

(d) Asbestos  Cases involving claims for personal injury or property damage from                     (     )
    exposure to asbestos.

(e) Special Management  Cases that do not fall into tracks (a) through (d) that are                      (x)
    commonly referred to as complex and that need special or intense management by
     the court. (See reverse side of this form for a detailed explanation of special
    management cases.)

(f) Standard Management -- Cases that do not fall into any one of the other tracks.                   (     )

June 29, 2021                   Justin E. Proper
Date                            Attorney-at-law                   Attorney for Plaintiff

215-864-7165                    215-399-9620                      properj@whiteandwilliams.com
Telephone                       Fax Number                        E-mail Address




(Civ. 660) 10/02

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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 BENSALEM LODGING ASSOCIATES LLC,
 a Pennsylvania Limited Liability Company,
 individually and on behalf of all others             CIVIL ACTION No. ________________
 similarly situated,

                                Plaintiff,
                                                     JURY TRIAL DEMANDED

 v.

 HOLIDAY HOSPITALITY FRANCHISING,
 LLC, SIX CONTINENTS HOTELS, INC. d/b/a
 INTERCONTINENTAL HOTELS GROUP
 and IHG OWNERS ASSOCIATION, INC.

                                Defendants.

                               COMPLAINT – CLASS ACTION

        Plaintiff Bensalem Lodging Associates, LLC, a Pennsylvania Limited Liability Company,

individually and on behalf of all others similarly situated, brings this class action lawsuit against

Holiday Hospitality Franchising, LLC, Six Continents Hotels, Inc. d/b/a Intercontinental Hotels

Group and IHG Owners Association, Inc. and alleges as follows upon personal knowledge as to

themselves and their own acts and experience, and, as to all other matters, upon information and

belief, including investigation conducted by its attorneys.

                                       INTRODUCTION

        1.       Defendant Six Continents Hotels, Inc. (“SCH”) is the world’s largest hotel

company by room count, and does business under the name InterContinental Hotels Group

(“IHG”) (SCH and IHG may hereinafter be collectively referred to as “IHG”).

        2.       IHG operates approximately some 5,600 hotels across more than 15 brands. IHG

takes an asset-light approach, owning, franchising and/or managing hotels for third parties, with

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Holiday Inn as its mainstay chain, under such brands as Holiday Inn, Holiday Inn Express and

Holiday Inn Resorts (the “Holiday Inn Brands”), each bearing the identification as “an IHG Hotel.”

        3.       IHG also owns, manages and/or franchises other hotel brands such as Crowne

Plaza, InterContinental, Staybridge Suites, Candlewood Suites, Hotel Indigo, Regent and

Kimpton.

        4.       IHG’s Holiday Inn Brands account for approximately 70% of its total hotel count.

        5.       IHG owns Defendant Holiday Hospitality Franchising, LLC (“HHF”), its affiliate

which offers and sells Holiday Inn Brand franchises including, but not limited to, Holiday Inn,

Holiday Inn Express and Holiday Inn Resort.

        6.       Defendant IHG owns and acts through its franchising affiliate, HHF and its agent

and representative IHG Owners Association (“IHGOA”).

        7.       HHF enters into franchise agreements titled “Holiday Hospitality Franchising, LLC

License Agreement(s)” (“License Agreement”) with HHF franchisees.

        8.       Plaintiff BENSALEM LODGING ASSOCIATES LLC, a Pennsylvania Limited

Liability Company, is a franchisee that owns and operates a hotel located at 3327 Street Road in

Bensalem, Pennsylvania 19020, that bears a HHF brand mark pursuant to a License Agreement.

        9.       Many HHF Franchisees are individuals, single member limited liability companies

or closely held corporations who are either immigrants or second-generation Americans of Indian

or other South Asian origin. Plaintiff is one such HHF franchisee.

        10.      The hotel franchise industry holds particular appeal and attraction to these HHF

Franchisees by providing investment and traditional family business ownership opportunities

which they can build through diligence, dedication and hard work.

        11.      This class action lawsuit seeks to put an end to IHG/HHF’s unlawful, abusive,

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fraudulent, anticompetitive and unconscionable practices designed solely to benefit and to enrich

IHG/HHF’s shareholders and to do so at the expense and to the detriment of Plaintiff and the class

members, namely, similarly situated HHF franchisees.

         12.     At the heart of IHG/HHF’s unlawful scheme is its requirement that its franchisees

use certain mandated vendors and suppliers for the purchase of virtually all goods and services

necessary to maintain and to run a hotel.

         13.     IHG/HHF’s forced exclusive use of certain chosen vendors and suppliers imposes

well above-market procurement costs on HHF Franchisees which include, but are not limited to,

those associated with its onerous and exorbitant Property Improvement Plan (“PIP”).

         14.     Under the guise of improving the franchisees’ hotels to maintain “brand standards,”

IHG/HHF forces its franchisees to frequently undertake expensive renovations, remodeling and

construction as part of the PIP, and in so doing manipulates and shortens the warranty periods on

mandated products the franchisees must purchase, then disingenuously uses this to justify PIP

requirements as purportedly necessary to meet “brand standards” when, in reality, IHG/HHF’s

sole purpose is to maximize its kickbacks and unjustifiably run up costs on their franchisees in bad

faith.

         15.     IHG/HHF deceitfully represent to their franchisees that they select vendors with

the laudable goal of using the franchisees’ collective bargaining power to secure a group discount

and to ensure adequate quality and supply of products and services, and refer to these procurement

programs as the “IHG Marketplace.”

         16.     In fact, however, IHG/HHF’s primary goal in negotiating with vendors has little to

nothing to do with the best interests of franchisees but rather is to secure the largest possible profit

and kickback for itself, which the chosen vendors finance through the above-market rates charged

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to HHF Franchisees in collusion with IHG/HHF.

        17.      Furthermore, the above-market priced products which IHG/HHF forces franchisees

to purchase through the IHG Marketplace and related programs is overwhelmingly of inferior

quality.

        18.      These low-quality “IHG Approved” purchases are forced upon franchisees and

disingenuously characterized as meeting supposed brand standards of quality, when in truth the

sole purpose is to maximize kickbacks for IHG/HHF and unjustifiably run up costs on their

franchisees in bad faith.

        19.      Upon information and good faith belief, IHG/HHF have each netted tens of millions

of ill-gotten dollars as a result of this illicit vendor supply arrangement.

        20.      Additionally, IHG/HHF engages in other oppressive, bad-faith, fraudulent and

unconscionable conduct as more fully described herein. For instance, IHG holds itself out to the

public as offering discounts, travel benefits and other perks to repeat guests through its IHG

Rewards Club loyalty program. IHG has a mobile booking app as well as cloud-based hotel

solutions which it represents as driving demand for its hotel owners and which ostensibly allows

hotel owners to reach potential guests at a lower cost. Hotel guests can accumulate points per

dollars spent which can be redeemed at IHG hotels.

        21.      When those points are then redeemed at a hotel, however, only a small fraction of

the value is reimbursed to franchisees while IHG/HHF requires that Plaintiff and franchisees (and

not IHG/HHF) pay taxes on the full value of the product or service obtained by hotel guests.

        22.      Furthermore, in instances where hotel guests’ accumulated reward points from

stays at Plaintiff’s (or other franchisees’) hotel expire, the points never return to Plaintiff or to any

source-of-origin franchisees.

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        23.      Whenever a guest calls IHG Guest Relations to complain about poor service,

regardless of who is at fault, the hotel is penalized without appropriate investigations and charged

case management fees of over $150, in addition to any other monetary reimbursements provided

to the guest. In an attempt to appease guests, the Guest Relations representatives unjustly assess

penalties to the hotels and rarely considers the franchisees’ perspectives, depriving franchisees the

right to remedy the situation with minimal loss.

        24.      IHG/HHF also frequently introduces new marketing programs under the guise of

providing franchisees with a “choice” as to whether they should participate or not.

        25.      In reality, however, all such marketing programs are forced upon the franchisees

insofar as any and all decisions to “opt out” are met with vindictive, punitive and retaliatory action

by IHG/HHF.

        26.      These programs are in addition to all marketing fees contracted and paid for by the

franchisees further to the License Agreements, and serve as an additional revenue source by

imposing additional fees and fines for the sole profit and benefit of IHG/HHF, and to do so without

disclosure or agreement by deceit, implied threat and actual retribution rendering franchisees’

supposed “opt-out” choice completely illusory.

        27.      Furthermore, although the facts set forth herein predominantly existed before

March, 2020 and continuously thereafter, IHG/HHF has ceased all of its marketing since the

imposition of Covid-19 related restrictions in early 2020. Despite the fact that IHG/HHF has not

been engaged in any marketing activities or efforts for approximately a year, it continues to require

franchisees to pay significant marketing related fees for which they receive nothing in return.

        28.      Moreover, IHG/HHF routinely assesses additional fees and penalties against

franchisees which are not authorized by the applicable License Agreement and are fundamentally

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excessive and unfair. These fees and penalties are disingenuously assessed as a means to

intimidate franchisees, including to serve as bad faith bases for default notices and threatened

termination, as well as to harm the economic viability, profitability and creditworthiness of certain,

targeted franchisees.

        29.      For instance, IHG/HHF routinely requires its franchisees to pay multiple fees for

the same product or service. And, IHG/HHF routinely assesses additional fees against franchisees

for services and products that IHG/HHF either does not, in fact, provide or provides at an inferior

quality.

        30.      IHG/HHF imposes requirements on its franchisees to undergo hotel inspections any

time there are conversions, construction, changes in ownership, brand changes or re-licensing. In

conjunction with IHG/HHF’s unilaterally imposed mandates for any such hotel changes,

IHG/HHF requires its franchisees to pay for the inspections, IHG/HHF’s written reports and any

re-evaluations and re-inspections that IHG/HHF alone deems necessary. In practice, IHG/HHF

stages these inspections to maximize criticism of franchisee hotels as a pretext for imposing

additional inspections, reports and fines, all deliberately interposed for IHG/HHF’s own financial

benefit and to the detriment of franchisees.

        31.      IHG/HHF arbitrarily imposes rules and regulations and/or unreasonably interprets

rules and regulations in order to justify assessing monetary penalties against franchisees.

        32.      Quite egregiously, IHG/HHF routinely discriminates, demeans and is both

explicitly and implicitly hostile and bigoted towards Plaintiff, and towards Indian-American and

South Asian-American franchisees.

        33.      IHG/HHF corrupts its Owners Association, the IHGOA, the function of which

IHG/HHF represents in the License Agreement “to function in a manner consistent with the best

                                                  6


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interests of all persons using the System” but instead is staffed almost exclusively with IHG/HHF

representatives to the exclusion of franchisees and operates to undermine and to harm the very

hotel owners and franchisees it purports to represent.

        34.    HHF’s actions are unconscionable and outrageous, and have pushed franchisees to

the financial breaking point.

        35.    This lawsuit seeks an accounting (COUNT V), declaratory (COUNT III) and

injunctive relief, monetary damages and other relief for breach of contract (COUNT I) and breach

of fiduciary duty (COUNT II), as well as recovery for violations of the Sherman Act, 15 U.S.C. §

1 (COUNT IV).

                                JURISDICTION AND VENUE

        36.    This Court has subject matter jurisdiction over the federal law claims raised in this

class action lawsuit pursuant to pursuant to 28 U.S.C. § 1331 as Plaintiff alleges violations of a

federal statute, the Sherman Act, 15 U.S.C. § 1.

        37.    This Court has subject matter jurisdiction over this action pursuant to the Class

Action Fairness Act of 2005, Pub. L. No. 109-2 Stat. 4 (“CAFA”), which, inter alia, amends 28

U.S.C. § 1332, at new subsection (d), conferring federal jurisdiction over class actions where, as

here: (a) there are 100 or more members in the proposed class; (b) some members of the proposed

Class have a different citizenship from Defendants and (c) the claims of the proposed class

members exceed the sum or value of five million dollars ($5,000,000) in aggregate. See 28 U.S.C.

§ 1332(d)(2) & (6).

        38.    This Court has subject matter jurisdiction over the state law claims asserted in this

action pursuant to 28 U.S.C. § 1367 because they arise from the same set of operative facts as the

federal law claims.

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        39.        This Court has personal jurisdiction over Defendants IHG, HHF and IHGOA

because all Defendants regularly transact business within the geographic boundaries of this

District by, inter alia, entering into franchising agreements with franchisees and engaging in

routine, systematic and continuous contacts with persons in this District.

        40.         Venue is proper in this judicial district pursuant to 18 U.S.C. §§ 1965(a) and (b)

because Defendants HHF, IHG and IHGOA regularly transact business within the geographic

boundaries of this District by, inter alia, entering into franchising agreements with franchisors,

because said Defendants regularly transact business within the geographic boundaries of this

District by, inter alia¸ collecting membership fees from franchisees, and, in the alternative,

because the ends of justice require said Defendants to be summoned to this District.

        41.         The business conducted by Plaintiff is pursuant to a certain license agreement with

HHF, and Plaintiff’s business location is in Bensalem, Pennsylvania. See 28 U.S.C. § 115(b)(2).

                                            THE PARTIES

        42.        Plaintiff BENSALEM LODGING ASSOCIATES LLC, a Pennsylvania Limited

Liability Company, is a franchisee that owns and operates a hotel, located at 3327 Street Road in

Bensalem, Pennsylvania 19020, that bears a HHF brand mark pursuant to a License Agreement.

        43.         Defendant HHF is a Delaware-registered limited liability company with its

principal place of business located at Three Ravinia Drive, Suite 100, Atlanta, Georgia 30346.

        44.         Defendant IHG is a Delaware-registered corporation with its principal place of

business is Three Ravinia Drive, Suite 100 Atlanta, Georgia 30346.

        45.         Defendant IHGOA is a Georgia non-profit corporation with its principal place of

business      is     Three     Ravinia     Drive,       Suite   100    Atlanta,    Georgia     30346.


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                           COMMON FACTUAL ALLEGATIONS

A. The Parties’ Relationship

        46.     IHG has been in operation since 2003.

        47.     Throughout its history, IHG has created and acquired hotel brands, including, but

not limited to, Holiday Inn, Holiday Inn Express and Holiday Inn Resort.

        48.     IHG’s franchising affiliate, HHF, licenses the right to use these hotel brand marks

to franchisees, including Plaintiff, by entering into franchise agreements with them, which in many

cases are referred to as “License Agreements.”

        49.     IHG owns HHF and has developed relationships with various vendors and

suppliers to IHG/HHF franchisees.

        50.     By virtue of its ownership of HHF and control over the IHG Marketplace, IHG is

an intended third-party beneficiary of the License Agreements.

        51.     In connection with the License Agreements, HHF uses its superior bargaining

power to coerce the franchisees into accepting onerous, unequal and unconscionable terms in its

License Agreements.

        52.     These onerous terms put immense financial stress on franchisees, threatening their

economic viability.

        53.     HHF’S abuse of its position and unfair practices result in the imposition of

needless and costly fees, above-market costs for necessary supplies and other goods and results in

substantial impacts on HHF franchisees’ ability, who manage and operate their properties

commensurate with the highest standards, to operate their properties profitably.

        54.     Plaintiff BENSALEM LODGING ASSOCIATES, LLC is an HHF Franchisee

that entered into a franchise agreement with HHF dated October 31, 2012 entitled “Holiday

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Hospitality Franchising, LLC Conversion License Agreement” (the “License Agreement,” a copy

of which is attached hereto as Exhibit A) for a Holiday Inn Express Hotel to be developed and

operated by Plaintiff and located at 3327 Street Road in Bensalem, Pennsylvania 19020.

        55.      Pursuant to this License Agreement, Defendant HHF granted Plaintiff a non-

exclusive license to use Defendant’s System (as defined therein) only at the Hotel and in

accordance with the License Agreement. (See License Agreement, §§1(b), 2.)

B. Vendor Mandates and Kickbacks – the IHG Marketplace Programs

        56.      A particular manner by which IHG/HHF undermines the viability and profitability

of its franchisees is by mandating Plaintiff and HHF franchisees utilize only HHF approved third-

party vendors, the purpose of which is for Defendants to reap a significant financial benefit at the

direct expense and to the financial detriment of the HHF franchisees.

        57.    IHG/HHF’s fraudulent and unconscionable scheme cannot operate without

franchisees paying excessive, above-market rates for the goods and services necessary to run a

hotel, including, but not limited to:

                 a) its computerized credit card processing system, Secure
                    Payment Solution

                 b) (“SPS”) which all Hotels are required to use;

                 c) high speed guest internet services, designated workstations
                    and multi-function printers in Hotel business centers (“Public
                    Access Computers”), and a designated communication
                    service referred to as “SCH Merlin”;

                 d) HHF’s approved Keycard System;

                 e) televisions and in-room entertainment compatible with SCH
                    Studio;

                 f) an alert system that enables employees to notify hotel
                    management of an emergency (“Employee Safety Devices”);


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                g) equipment, software, and services for property-level
                   technology and telecommunications systems;

                h) equipment associated with the Defendants’ gift card
                   program;

                i) mandated food and beverage programs;

                j) furniture, furnishing, linens, food products, utensils, and
                   goods for guests’ consumption and

                k) additional advertising materials, products, services,
                   equipment or supplies, from which IHG/HHF profits.

        58.    The above-market rate pricing charged by vendors and paid by Plaintiff and the

franchisees provides the money necessary for those vendors to pay IHG/HHF’s unreasonable and

unconscionable kickbacks.

        59.    IHG/HHF knowingly and willfully engage in conduct that ensures franchisees pay

above-market prices for goods and services necessary in conjunction with operation of the hotels.

        60.     IHG/HHF requires that Plaintiff and HHF Franchisees strictly comply with its

requirements for the types of services and products that may be used, promoted or offered at the

hotel, and comply with all of HHF’s “standards and specifications for goods and services used in

the operation of the Hotel and other reasonable requirements to protect the System and the hotel

from unreliable sources of supply.” See License Agreement generally.

        61.     If IHG/HHF requires HHF franchisees to purchase equipment, furnishings,

supplies or other products for the hotels from a designated or approved supplier or service provider,

whether pursuant to the License Agreement, Standards or any communication from HHF, then

HHF franchisees must purchase the mandated product(s) from mandated vendors and cannot

deviate from those vendor mandates without prior approval from HHF.

        62.     Defendants IHG and HHF run a program under the guise of being voluntary and


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which they falsely represent as delivering value and lower cost purchasing opportunities to HHF

franchisees. Nothing could be further from the truth. Defendants refer to these procurement

programs as the “IHG Marketplace.”

        63.      Defendant IHG describes the IHG Marketplace as:

               an easy-to-use ordering platform that allows owners to take
               advantage of the buying power of IHG for operational and service
               needs. This not-for-profit platform is available to all IHG-branded
               hotels and gives access to globally negotiated contracts and optimal
               pricing from more than 200 suppliers and services, resulting in
               significant savings and value.1

        64.      Defendant IHG further represents that the IHG Marketplace is “[d]esigned to cut

costs and streamline the hotel procurement process, the program provides owners with solutions

to achieve unparalleled cost savings and efficiency…Rebates and discounts are passed directly to

you, you earned them, you keep them!”2

        65.      In reality, IHG Marketplace operates on a cost recovery basis with fees for both

procurement and technical ordering transaction services included in the supplier invoiced price.

        66.      HHF franchisees purchase goods and services directly from suppliers at prices

negotiated by HHF and/or IHG.

        67.      These prices are frequently above-market prices which do not permit the HHF

franchisees to seek competitive pricing for their own benefit.

        68.      Rather, these inflated prices allow for rebates that go to IHG and HHF directly by

suppliers which generally range from approximately 1-5% of the amount of the invoice price for



1
       https://development.ihg.com/en/americas/home/develop-a-hotel/support-for-owners        (last
visited June 2, 2021).

2
    https://www.ihgmarketplace.net/marketplace/home.php (last visited June 2, 2021).

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the goods and services purchased by franchisees.

        69.      These kickbacks to IHG and HHF are the primary—if not the sole—reason HHF

franchisees are forced to use expensive vendors and suppliers not of their own choosing at supra-

competitive pricing.

        70.      Some primary examples of the IHG Marketplace sourced vendor mandates

involve credit card processing and high speed internet agreements, with Defendants requiring

franchisees to execute these infrastructure related agreements.

        71.      Although IHG/HHF represent that franchisees have a choice between vendors, it

is usually only between no more than three vendors hand-picked by Defendants from whom they

obtain significant rebates.

        72.      Although franchisees are able to secure far more reasonable rates for, for example,

credit card processing from alternate sources, IHG/HHF do not permit franchisees to do so on the

open market and instead require franchisees to pay the higher rates of Defendants’ selected

vendors.

        73.      This is similarly true in the case of hotel internet services which IHG/HHF does

not permit franchisees to purchase on the open market and instead requires franchisees, in most

instances, to pay more than double the price for lower speeds than what franchisees could purchase

independently from the same or alternate sources.

        74.      Under onerous mandates, defendants require franchisees to enroll in various

services, including, but not limited to, grossly overpriced internet bandwidth services and

marketing programs, such as IHG Ignite, without obtaining their consent and under the guise of

brand standard requirements. For a supposed voluntary program, opting out of the IHG Ignite

program is met with threats of property listing suppression and other negative online search

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consequences despite franchisees contributing tens of thousands of dollars annually for marketing

expenditures per hotel.

        75.     This mandated lack of choice invariably increases franchisees’ costs and

expenses, and benefits only IHG/HHF in the form of kickbacks.

        76.     The costs charged to franchisees in the IHG/HHF procurement programs such as

the IHG Marketplace are almost always higher than if the same product or service were purchased

by an independent hotel outside of the HHF System.

        77.     Defendants frequently use the pretext that the vendor requirements imposed on

franchisees are necessary for standardization or—more curiously—for security.

        78.     In fact, many products and services that HHF franchisees are required to obtain

based on Defendants’ vendor mandates are at an excessive cost but inferior quality.

C. Franchisee Fees & the Property Improvement Plan

        79.     As a prerequisite to becoming an HHF Franchisee, IHG/HHF charges (and

Plaintiff actually paid) an initial application fee of $500 per guest room (sometimes referred to as

a “key”) and up to $50,000 simply for the privilege of submitting an application for an HHF

franchise or license. This application fee applies for new development, conversion, change of

ownership or re-licensing.

        80.     Only then does IHG/HHF determine whether it will approve the application for a

license, and in the case of unapproved applications, IHG/HHF retains $15,000 which is forfeited

by franchise/license applicants for absolutely no return benefit.

        81.     If IHG/HHF does approve an application, IHG/HHF still has the sole discretion

to revoke its approval thereafter and to retain an applicant’s entire application fee and to deem it

“non-refundable,” again providing applicants with no benefit in return for IHG/HHF taking an

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amount up to $50,000 and leaving applicants without recourse.

        82.     IHG/HHF also maintains what it calls its “Property Improvement Plan” (PIP).

        83.     Before any HHF franchisee submits an application for conversion, change of

ownership, brand change or re-licensing, franchisees must arrange for HHF to conduct an

inspection of the Hotel so that IHG/HHF can prepare written specifications for the upgrading,

construction and furnishing of the Hotel in accordance with its HHF’s defined “Standards.”

        84.     Under the PIP, HHF franchisees must pay a non-refundable $6,500 fee to have

their Hotel inspected and for preparation of a PIP report.

        85.     In the case of conversion hotels, IHG/HHF will not authorize reopening unless

and until it has determined that all PIP requirements have been completed, including the

submission of plans before the start of construction in accordance with the dates specific in the

License Agreement.

        86.     As part of PIP, IHG/HHF charges up to an additional $5,000 for each re-

evaluation and re-inspection it may deem necessary in the event any hotel fails its opening

inspection. IHG/HHF frequently uses this, and imposes further fines, as a means to enrich

themselves to the detriment of the franchisees.

        87.     IHG/HHF neither requires nor imposes its inspections, re-inspections, re-

evaluations and/or written reports in good faith. To the contrary, IHG/HHF uses these inspections

as a pretext to generate the aforesaid fees and fines, and prepares disingenuously negative reports

in order to generate revenue for itself in the form of fines and required re-inspections, reports and

impact studies, all intended to harm the economic viability and creditworthiness of its franchisees.

        88.    IHG/HHF suggests to its quality inspectors to fail franchisees in quality evaluations

if franchisee Medallia scores, customer and employee experience scores generated from surveys,

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social media and review websites, are below expectations, although Medallia scores are not to be

taken into account in quality evaluations.

        89.     Any objections by an IHG/HHF franchisee to this process are disregarded and

dismissed, and met with derision, threats, intimidation and retaliation.

        90.     The license that IHG/HHF grants to Plaintiff and HHF franchisees to “use the

System only at the Hotel, but only in accordance with this License” (and during the License Term)

defines the System broadly and with significant open-ended discretion for HHF.

        91.     This discretion allows IHG/HHF to put a stranglehold on franchisees and broadly

impose onerous costs and obligations on franchisees:

               The System is composed of all elements which are designed to
               identify Holiday Inn, Holiday Inn Express and Holiday Inn Resort
               branded hotels to the consuming public or are designed to be
               associated with those hotels or to contribute to such identification
               or association and all elements which identify or reflect the
               quality standards and business practices of such hotels, all as
               specified in this License or as designated from time to time by
               Licensor. The System at present includes, but is not limited to,
               the service marks Holiday Inn®, Holiday Inn Express®, Holiday
               Inn Express® & Suites, Holiday Inn® & Suites and Holiday
               Inn® Resort, (as appropriate to the specific hotel operation to
               which it pertains), Holidex® and the other Marks (as defined in
               paragraph 7.B below), and intellectual property rights made
               available to licensees of the System by reason of a license;
               all rights to domain names and other identifications or
               elements used in electronic commerce as may be designated
               from time to time by Licensor in accordance with Licensor's
               specifications to be part of the System; access to a reservation
               service operated in accordance with specifications established by
               Licensor from time to time; distribution of advertising, publicity
               and other marketing programs and materials; architectural
               drawings and architectural works; the furnishing of training
               programs and materials; confidential or proprietary information
               standards, specifications and policies for construction, furnishing,
               operation, appearance and service of the Hotel, and other
               requirements as stated or referred to in this License and from time
               to time in Licensor's brand standards for System hotels (the
               "Standards") or in other communications to Licensee; and
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               programs for inspecting the Hotel, measuring and assessing
               service, quality and consumer opinion and consulting with
               Licensee. Licensor may add elements to the System or modify,
               alter or delete elements of the System in its sole judgment from
               time to time.

License Agreement, §1(B) (emphasis added).

         92.     There is no limitation on the extent to which HHF can alter, modify or revise its

“Standards” or impose costs and obligations on HHF franchisees, which it does not disclose and

have never been the subject of any arms’ length agreement. See id., §§1(B), 4(E), 5.

         93.     The IHG/HHF PIPs are designed with substandard products and designs,

purposefully limit vendor choices for HHF franchisees and impose above-market procurement

costs.

         94.     For example, most furniture items that IHG/HHF require its franchisees to

purchase from required vendors are of such inferior quality that they break, disassemble and/or

damage upon initial delivery and/or assembly and are rendered unusable or they have a limited

use life and generally are substandard. IHG/HHF then forces additional costs upon its franchisees

to replace the mandated but damaged products, not to mention imposes additional costs to clean

the resultant broken parts strewn and littered in the franchisees’ hotels.

         95.     Although the IHG Owners Association (IHGOA, defined below) purports to

“consider and discuss, and make recommendations relating to the operation” of franchisees’

hotels, and “function in a manner consistent with the best interests of all persons using the System.”

IHG/HHF and the IHGOA routinely dismiss and disregard franchisee concerns about its inferior

mandated products and exorbitant costs. (See Franchise Agreement, §6(A)-(B).)

         96.     IHG/HHF forces its franchisees to repeat these PIP multimillion dollar projects

every 6-8 years irrespective of the actual condition of hotels purely to generate additional fees and

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vendor kickbacks for themselves to the detriment of Plaintiff and HHF franchisees.

        97.     As part of PIP, IHG/HHF deliberately scales back and manipulates standard

manufacturer furniture warranties as another means purely to fit their PIP cycles, cause harm to

the franchisees and, ultimately, raise prices for hotel customers.

        98.     As such, HHF has imposed and continues to impose onerous PIP terms on Plaintiff

and HHF franchisees which, in the sole discretion of HHF, forces HHF franchisees to spend

approximately $10,000 – $30,000 per guest room, which amounts to millions of dollars in forced

renovation costs being foisted upon HHF franchisees.

        99.     HHF further does so under the threat of retaliation against its franchisees in the

event of noncompliance as determined subjectively by HHF in its sole discretion, which can result

in termination of their franchise or other punitive measures.

D. IHG/HHF’s Double-Dipping on Commissions & Introduction of Supposedly Voluntary
   Programs under Pressure & Retaliation for Opt-Outs

        100.    HHF franchisees pay initial marketing contributions and annual marketing fees

which are represented as being applied to such things as marketing. Not content with those fees,

however, IHG/HHF frequently introduces “new programs” requiring franchisees to pay additional

fees, all of which go directly to said Defendants.

        101.    The fees set forth in the License Agreement are based on a fixed percentage of

Plaintiffs’ and HHF franchisees’ revenue. (See License Agreement, §3(B).)

        102.    The License Agreement, however, also purports to give HHF the unfettered,

unilateral and unspecified ability to impose additional fees, penalties, rules and regulations,

namely “all fees due for travel agent commission programs . . . .” (See id. §3(B)(1)(d).)

        103.    One such program for booking and commissions is known as the Global

Distribution System (“GDS”), which is a worldwide conduit between travel bookers and suppliers,
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such as hotels and other accommodation providers. GDS communicates live product, price and

availability data to travel agents and online booking engines, and allows for automated transactions.

        104.    The idea of GDS is for hotels to increase their reach to attract more customers, to

increase revenue and ultimately to generate additional profits. A GDS passes on hotel inventory

and rates to travel agents and travel sites that request it and also accepts reservations. Today, the

databases also include online travel agencies (“OTA”s) (such as Booking.com and Expedia).

        105.    IHG/HHF arbitrarily exercises this purported right to impose fees including, but

not limited to, travel agent commission fees, in bad faith. IHG/HHF does so in order to capture a

continually increasing share of Plaintiffs’ and the HHF franchisees’ revenue.

        106.    HHF franchisees are charged multiple additional fees such as transaction fees,

booking fees, GDS fees and excess and additional commissions through marketing and other

programs.

        107.    One example is IHG/HHF’s imposition of the BTI (Business Traveler

International) program, under which IHG/HHF double-dips on its commissions by imposing an

additional 2.5% commission on HHF franchisees over and above the aforesaid traditional GDS

bookings and commissions.

        108.    Another example is IHG/HHF’s “double-dip” on commissions for the aforesaid

third-party OTA bookings, from which IHG/HHF, upon information and belief, receive kickbacks

in sums unknown to HHF franchisees since IHG/HHF keep their contractual arrangements

confidential while charging the franchisees multiple fees for the same products or services that

HHF is already contractually obligated to perform.

        109.    IHG/HHF have also allowed OTAs to share and misappropriate discounted

booking codes with third party websites who impose substantial taxes, fees and costs on

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unsuspecting customers and, despite knowing that such misconduct is ongoing, IHG/HHF have

failed to enjoin such misconduct on the part of OTAs to IHG/HHF’s benefit and the substantial

detriment of franchisees.

        110.    IHG/HHF also sends sales leads to Plaintiff’s hotel and to HHF franchisees, the

origin of which is unknown to the franchisees, through its Meeting Broker program. These leads

have 3% commissions if they actualize and franchisees are billed based on revenue speculated by

IHG/HHF unless franchisees report updated actual numbers.

        111.    Plaintiff and other franchisees will frequently turn away these leads due to the fact

that they have previously built their own relationships prior to the duplicate lead coming from

Meeting Broker.

        112.    Nonetheless, IHG/HHF uses this as a tactic to charge additional commissions and

to demand that the franchisees prove the prior relationship, in essence stealing sales leads and

revenues developed by Plaintiff and HHF franchisees.

        113.    IHG/HHF further abuses its discretion by requiring franchisees to provide bank

account information to the OTAs that IHG/HHF contracts with.               These OTAs will then

automatically debit the HHF franchisee accounts on a monthly basis for all reservations sent to the

hotel. The onus thus falls on Plaintiff and HHF franchisees to reconcile and to dispute commission

charges for no-shows, cancellations or invalid credit cards, without any support from IHG/HHF.

        114.    The result is that funds are taken from the franchisees without recourse, the OTAs

collect unearned commissions, IHG/HHF receive kickbacks and franchisees are damaged without

recourse nor any franchisor support.

        115.    IHG/HHF further abuses its position by introducing marketing programs and other

programs solely to its General Manager and Director of Sales, bypassing the HHF franchisees

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entirely. These programs are represented as voluntary and consensual programs which Plaintiff

and HHF franchisees can, in theory, choose whether to participate or not.

        116.    However, neither Plaintiff nor franchisees have any direct access to the program

information and can only gain access through IHG/HHF’s general manager or sales director,

depriving them of any real choice or opt-out alternative.

        117.    Additionally, such programs purportedly offered by IHG/HHF to franchisees as

optional truly are not since IHG/HHF accompanies the presented “option” with threats of

retaliation including, but not limited to, being told that franchisees’ hotels will be suppressed or

removed from search engine results.

        118.    Faced with threats of retaliatory action from Defendants that further undermine

the HHF franchisees profitability and/or economic viability, the representation that Plaintiff or

HHF franchisees have any true choice is truly illusory.

        119.    In short and in sum, IHG/HHF introduces new or “additional” programs solely as

a basis to create additional revenue streams and profit to the detriment and cost of Plaintiff and

HHF franchisees.

E. IHG Rewards Program; Points Plus Cash

        120.   Defendants introduced, maintain and run an IHG Rewards Club Program by which

Hotel guests can earn points by staying at hotels within IHG’s network, as well as by purchasing

goods and services with IHG partner vendors, including Groupon, Grubhub and OpenTable,

provided these services are purchased through an SCH channel.

        121.   Points can also be earned for activities booked on the SCH Trip Extras page. For

IHG Rewards Club Premier Credit Card holders or IHG Rewards Club Traveler Credit Card

holders, additional points can be earned at IHG/HHF properties worldwide and on purchases made.

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        122.     Defendants’ actual management of this program, however, is yet another bad faith

means by which IHG and HHF profit off the backs of and to the detriment of their franchisees.

        123.     Participating members earn 10 reward points for every $1 spent. When those

points are earned from staying in the hotel of Plaintiff or other HHF franchisees, that hotel serves

as the point of origination for the points.

        124.     In effect, when a customer redeems points to earn free hotel night(s), Plaintiff or

other HHF Franchisee Hotel do not receive payment (or, if they do, it is for a vastly insignificant

amount and only when the overall occupancy of the hotel is below a specified percentage).

        125.     If a franchisee hotel is at 96% occupancy, IHG/HHF reimburses the participating

franchisee hotel for the average daily room for that particular night (which is less than the full

room rate).

        126.     However, if a franchisee hotel is at less than 96% occupancy, IHG/HHF only

reimburses the participating Franchisee hotels $30 for the value of products or services that

redeemed points were applied to, retaining the remainder for themselves and leaving IHG/HHF

franchisees to earn only a small fraction of such things as nightly room rates to their economic

detriment.

        127.     IHG/HHF also has a Points Plus Cash Program which it has never disclosed in its

Franchise Disclosure Document (“FDD”) or License Agreement. If participating members do not

have enough points to fully redeem a full night’s stay at a hotel or they do not desire to pay local

sales tax, they have the option to combine rewards points with cash.

        128.     In this instance, the nightly hotel rate is lowered and all cash paid by the customer

is retained by IHG/HHF and none goes to the HHF franchisee hotel. This practice violates the

License Agreement which provides that direct revenue from hotel guests goes to the HHF

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franchisee while IHG/HHF should only be entitled to collect fees from franchisees as provided

therein. See License Agreement.

        129.    There is no transparency by IHG/HHF regarding the IHG Rewards Club Hotel

Rewards Program, as franchisees have no access to financial information and data regarding all

awards, redemptions or amounts reimbursed to any franchisee, or collected, retained or funneled

by or to IHG and/or HHF in conjunction with the IHG Rewards Club Hotel Rewards Program.

F. HHF’s Fraudulent Representations Regarding the Nature of its Relationship with
   Approved Suppliers

        130.    Under the License Agreement, HHF requires that franchisees purchase some or

all of the products and services necessary (“Mandatory Products and Services”) to operate a hotel

from vendors and suppliers of its own choosing (the “Approved Suppliers”).

        131.    HHF represents to franchisees that it will limit the number of Approved Suppliers

for given products and services for the purposes of obtaining a group or volume discount and

ensuring uniform quality and supply of those Mandatory Products and Services.

        132.    However, upon information and belief, limiting the number of Approved

Suppliers has very little to do with obtaining greater discounts or improving brand quality.

        133.    Rather, upon information and belief, HHF limits the number of Approved

Suppliers as part of a scheme to reduce competition within the HHF Franchise System, which in

turn, allows HHF to extract larger kickbacks from vendors.

        134.    HHF does not disclose to franchisees when it receives a kickback (or “rebate”), or

the amount of any such “rebate.”

        135.    The intended purpose and effect of HHF’s kickback scheme is that Approved

Suppliers charge above-market rates for their goods and services.

        136.    HHF does not help franchisees save time and money on their purchasing needs.
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          137.   Upon information and belief, HHF does not obtain group or volume discounts on

behalf of its franchisees.

          138.   Moreover, HHF does not ensure adequate brand quality and supply; rather, HHF

at times forces franchisees to purchase, often at inflated prices, inferior Mandatory Products and

Services.

          139.   HHF is not attempting to promote brand quality, but is constantly auctioning off

the right to sell Mandatory Products and Services to franchisees to the highest bidding vendors.

          140.   HHF is leveraging its Franchise System to secure massive “rebates” from vendors.

          141.   Upon information and belief, to be approved as an Approved Supplier and to gain

access to HHF’s franchisees, HHF requires a quid pro quo in the form of kickbacks.

          142.   The kickbacks include both fixed fees paid by Approved Suppliers to HHF, and

transactional fees based on a percentage of Approved Suppliers’ total sales to franchisees and their

guests.

          143.   The transactional fees are inextricably tied to the cost of the goods and services,

meaning that as HHF’s revenue from transactional fees increases as the cost of goods and services

increases.

          144.   HHF therefore has an inherent conflict of interest that it never discloses to

franchisees.

          145.   Upon information and belief, HHF’s conflict of interest has led to abuse.

          146.   Upon information and belief, HHF has placed its interests and financial gain, as

well as the interests of Approved Suppliers over those of its franchisees.

          147.   Upon information and belief, HHF has conspired with manufacturers and
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distributors to increase cost of goods and services that are sold to its franchisees.

        148.     Upon information and belief, HHF colludes with manufacturers and/or

distributors to increase the wholesale price of products, which in turn, increases the retail prices

Approved Suppliers must sell to franchisees.

        149.     Upon information and belief, HHF effectively fixes the retail pricing of goods and

services sold to franchisees.

        150.     Upon information and belief, HHF knows that Approved Suppliers cannot sell

goods and services to its franchisees at competitive prices.

        151.     Upon information and belief, HHF knows that Approved Suppliers must increase

the cost of goods and services to account for the increased wholesale costs and as well the fixed

and transactional fees that must be paid to HHF.

        152.     Upon information and belief, HHF knows that Approved Suppliers will pass these

increased costs onto franchisees.

        153.     Upon information and belief, franchisees ultimately are the ones harmed by

HHF’s price fixing and kickback scheme.

        154.     While HHF purports to give franchisees the right to, at HHF’s discretion, purchase

Mandatory Products and Services from vendors other than the Approved Suppliers, in practice

HHF rarely, if ever, grants franchisees permission to do so.

        155.     Essentially, HHF offers franchisees no meaningful choice in vendors.

        156.     HHF misrepresents to franchisees and/or conceals the true nature of its

relationship with Approved Suppliers, in order to lock them into the onerous License Agreements

and to create excessive switching costs.
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G. HHF’s Imposition of Marketing Fees While Engaging in No Marketing

        157.    The License Agreement requires franchisees to pay HHF various fees, for which

HHF promises to provide certain services in return. Among these required fees are marketing fees.

(See License Agreement, §3(B)(1)(b), (d).)

        158.    The License Agreement provides that HHF franchisees shall make monthly fee

payments to HHF for:

                (b)     a “Services Contribution” equal to the percentage of Gross
                Rooms Revenue set forth in paragraph 15 below, to be used by
                Licensor for marketing, reservations, and other related activities
                which, in Licensor’s sole business judgment as to the long-term
                interests of the System, support marketing, reservations and other
                related functions.
                …
                Licensor may, in its sole judgment, upon 30 days’ prior notice,
                increase this Contribution by an amount not to exceed 1% of Gross
                Rooms Revenue and such increase shall be effective for a period
                no longer than 12 months …

                (d)    all fees … due in connection with mandatory marketing …
                and other systems and programs established by the Licensor, its
                parents, subsidiaries or its affiliated entities relating to the System.

(Id., §3(B)(1)(b), (d).)

        159.    The percentage of Gross Rooms Revenue that Plaintiff pays to HHF as the Services

Contribution referenced in Section 3 of the License Agreement is 3%. (See id., §15(a)(2).)

        160.    Following the imposition of Covid-19 restrictions in or about March 2020, HHF

ceased all marketing efforts and activities which the franchisees’ “Services Contribution” is

contractually represented as being paid to support, and said HHF marketing is the explicit benefit

of the bargain which franchisees are entitled to receive in exchange for their payment to HHF.

        161.    In addition, IHG/HHF made a public statement that Medallia score requirements,

customer and employee experience scores generated from surveys, social media and review

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websites, would be waived for the previous year but, nevertheless, sent violations to its franchisees

explaining that their scores had dropped too low and threatened to take away licenses.

        162.    HHF has continuously required, demanded payment of and collected marketing

fees from its franchisees despite providing no marketing services or programs for nearly a year.

H. IHG Owners Association: IHG/HHF Collusion with the IHGOA & its Illusory Provision
   of Franchisee Participation

        163.    The License Agreement provides for franchisee membership in the IHGOA, and

states in relevant part that:

                The purposes of the IHG Owners Association will be to consider
                and discuss, and make recommendations on common problems
                relating to the operation of System Hotels. Licensor will seek the
                advice and counsel of the IHG Owners Association’s Board of
                Directors or, subject to the approval of Licensor, such committees,
                directors or officers of the IHG Owners Association to which or
                to whom the IHG Owners Association Board of Directors may
                delegate such responsibilities.

(Franchise Agreement, §6(A).)

        164.    The License Agreement provides further that HHF “recogniz[es] that the IHG

Owners Association must function in a manner consistent with the best interests of all persons

using the System . . . .” (Id., §6(B).)

        165.    HHF represents to Plaintiff and HHF franchisees that it makes a good faith effort

to protect the best interests of HHF franchisees.

        166.    Despite these representations, however, the IHGOA board members are essentially

handpicked by IHG/HHF, and receive incentives in exchange for their loyalty to IHG/HHF’s

agenda and interests.

        167.    While IHGOA’s board members are nominally elected by all franchise owners, it

is essentially impossible for dissenting voices to gain seats on the board.

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        168.       IHG/HHF controls the nominating process through the imposition of onerous and

vague requirements for candidacy, which ensures that IHG/HHF can carefully select candidates

and thus the elections to the IHGOA are noncompetitive.

        169.       The collusion between the IHGOA and IHG/HHF is a fraudulent attempt to create

the appearance of legitimacy to IHG/HHF’s exploitative practices.

        170.       IHG/HHF scoffs at the stated purposes and functions of the Owners Association as

set forth in the License Agreement, affording Plaintiff and its franchisees only the illusory role of

having a voice in the System, or discussing any operational recommendations for common

problems at the hotels, with IHG/HHF instead acting in complete disregard for “the best interests

of all persons using the System.”

        171.       In short, IHG/HHF pursues only its own self interest to the deliberate detriment of

its franchisees.

        172.       The “committees, directors or officers of the IHG Owners Association” rarely

include franchisees, but instead are populated by IHG and/or HHF employees to collude with said

Defendants, utterly disregard genuine franchisee complaints, and to instead implement, avoid

accountability for, and rubber stamp all matters decided unilaterally by and for these Defendants

for the sole purpose of enriching themselves and requiring payments from franchisees.

I. IHG’s Racial Discrimination Against Indian-American & South Asian-American
   Franchisees

        173.       In its relations with its franchises, IHG/HHF is hostile to and routinely

discriminates in favor of white, black and Latino franchisees and against Indian-American and

South Asian-American franchisees, by offering preferential treatment to the former, and engaging

in derogatory and demeaning rhetoric and behavior and more strictly enforcing rules and

regulations against the latter.
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        174.   IHG/HHF applies PIP enforcement, inspections and fines unequally, with unduly

harsh and unequal application against its franchisees of Indian-American and South Asian-

American descent.

        175.   IHG/HHF applies its discretionary brand “standards” unequally, with unduly harsh

and unequal application against its franchisees of Indian-American and South Asian-American

descent.

        176.   IHG/HHF applies its discretionary brand “standards” unequally, with online

manipulation of guest scores, reviews and ratings against its franchisees of Indian-American and

South Asian-American descent.

        177.   IHG/HHF terminates franchises more frequently and arbitrarily against its

franchisees of Indian-American and South Asian-American descent, and similarly denies the

granting and transfer of franchises to Indian-Americans and South Asian-Americans.

        178.   IHG/HHF executives routinely make racially derogatory comments to and about

Plaintiff and their Indian-American and South Asian-American franchisees.

                              CLASS ACTION ALLEGATIONS

        179.   Pursuant to Federal Rules of Civil Procedure 23(a) and (b), Plaintiff bring this

action on behalf of itself and the Class (“Class”) of similarly situated persons defined as:

               All United States residents (including persons and business
               entities) that operate or have operated a Holiday Hospitality
               Franchising LLC in the State of Pennsylvania hotel pursuant to a
               License Agreement from January 1, 2014 through the date of
               Class Certification. Excluded from the Class are the officers,
               directors and employees of Defendants and their respective legal
               representatives, heirs, successors and assigns.

A. Rule 23(a) Requirements

        180.   Numerosity: Members of the Class are so numerous that their individual joinder

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is impractical. The precise identities, number and addresses of members of the Class are presently

unknown to Plaintiff, but may and should be known with proper and full discovery of Defendants,

third-parties and all relevant records and documents.

        181.   Upon information and belief, the Class has more than 40 members.

        182.   All members of the Class assert claims for violation of the law as set forth herein.

        183.   Existence of Common Questions of Fact and Law: There is a well-defined

commonality and community of interest in the questions of fact and law affecting the members of

the Class. Among other things, the common questions of fact and law include:

                a) Whether and to what extent Defendants’ practices, conduct
                   and misrepresentations violate the covenant of good faith and
                   fair dealing;

                b) Whether and to what extent Defendants’ practices, conduct
                   and misrepresentations violate federal or state law;

                c) Whether HHF breached terms of the License Agreements;

                d) Whether and to what extent Defendants maintained a closed
                   market vendor marketplace in order to derive illicit profits;

                e) Whether the Class sustained injury as a result of HHF’s
                   breaches of the License Agreement;

                f) Whether any of the provisions of the subject HHF License
                   Agreements are void and/or unenforceable;

                g) Whether Plaintiff and Class members are entitled to recover
                   compensatory, consequential, exemplary, treble, statutory or
                   punitive damages based on Defendants’ fraudulent, illegal,
                   anticompetitive conduct or practices and/or otherwise;

                h) Whether temporary and permanent injunctive relief is
                   appropriate for all class members and

                i) Whether Plaintiff and Class members are entitled to an award
                   of reasonable attorneys’ fees, prejudgment interest and costs
                   of suit.

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        184.   Typicality: Plaintiff is a member of the Class. Plaintiff’s claims have a common

origin and share common bases with the Class members. They originate from the same illegal,

fraudulent and confiscatory practices of Defendants, and Defendants have acted in the same way

toward Plaintiff and all other Class members. If brought and prosecuted individually, the claims

of each Class member would necessarily require proof of the same material and substantive facts,

rely upon the same remedial theories and seek the same relief.

        185.   Adequacy: Plaintiff is an adequate representative of the Class because its interests

do not conflict with the interests of the members of the Class they seek to represent. Plaintiff has

retained competent counsel, and intends to prosecute this action vigorously. Plaintiff’s counsel

will fairly and adequately protect the interests of the members of the Class.

B. Rule 23(b)(2) & (3) Requirements

        186.   This lawsuit may be maintained as a class action pursuant to Federal Rule of Civil

Procedure 23(b)(2) because Plaintiff and the Class seek declaratory and injunctive relief, and all

of the above requirements of numerosity, common questions of fact and law, typicality and

adequacy are satisfied. Moreover, Defendants have acted on grounds generally applicable to

Plaintiff and the Class as a whole, thereby making declaratory and/or injunctive relief proper and

suitable remedies.

        187.   This lawsuit may also be maintained as a class action under Federal Rule of Civil

Procedure 23(b)(3) because questions of fact and law common to the Class predominate over the

questions affecting only individual members of the Class, and a class action is superior to other

available means for the fair and efficient adjudication of this dispute. The damages suffered by

each individual class member may be disproportionate to the burden and expense of individual

prosecution of complex and extensive litigation to proscribe Defendants’ conduct and practices.

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        188.     Additionally, effective redress for each and every class member against Defendants

may be limited or even impossible where serial, duplicate or concurrent litigation occurs arising

from these disputes. Even if individual class members could afford or justify the prosecution of

their separate claims, such an approach would compound judicial inefficiencies, and could lead to

incongruous and conflicting judgments against Defendants.

                                              COUNT I

                                        Breach of Contract
                                    (Against HHF, SCH & IHG)

        189.     Plaintiff incorporates by reference all of the foregoing allegations as if set forth at

length herein.

        190.     At all times relevant to this litigation, Defendant HHF possessed individual

contractual relationships with each Franchisee through the License Agreements.

        191.     By virtue of their ownership of HHF and control over the IHG Marketplace, IHG

and SCH are intended third-party beneficiaries of the License Agreements.

        192.     Beyond the written terms of the License Agreement, HHF, IHG and SCH owe a

duty of good faith and fair dealing to franchisees in relation to its performance under the License

Agreement and any related agreements.

        193.     HHF breached its obligations under the License Agreement by, inter alia:

                  a) Without any limitation or stated parameters, to generally and
                     arbitrarily alter, modify or revise its “Standards” or
                     “System,” in its sole judgment, as a bad faith means to
                     impose undisclosed costs and obligations on franchisees
                     without any Franchisee input, agreement, or recourse;

                  b) Using its PIP program as a means to apply unfettered and
                     open-ended discretion extract otherwise undisclosed fees and
                     fees not contracted for from franchisees, by mandating
                     exorbitant construction and renovation mandates and costs
                     upon franchisees;
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               c) As part of the PIP program, forcing franchisees to pay non-
                  refundable fees for mandatory Hotel inspections and
                  preparation of PIP report(s), without any Franchisee consent
                  or agreement, and charging additional undisclosed fees for
                  re-inspections and re-evaluations solely as HHF deems
                  necessary and mandates, and to arbitrarily require such re-
                  inspections and also impose fines solely as a means of
                  enriching HHF;

               d) Forcing franchisees to utilize only HHF’s Approved
                  Suppliers for the goods and services necessary to run the
                  Hotel(s) because such vendors and suppliers provide HHF
                  with rebates and kickbacks;

               e) Falsely representing that the Approved Suppliers in HHF’s
                  procurement programs, including but not limited to the “IHG
                  Marketplace” allow for Franchisee choice, and deliver value
                  and lower cost purchasing opportunities to franchisees when,
                  in fact, franchisees are involuntarily forced to use these
                  Approved Suppliers, charging franchisees above-market
                  rates, rates which are higher than the same Approved
                  Suppliers charge hotel operators not within the HHF System,
                  and often the Mandatory Products and Services forced upon
                  franchisees are of inferior quality;

               f) HHF represents to franchisees that its limited number of
                  Approved Suppliers is for the purpose of obtaining group or
                  volume discounts, or to ensure uniform quality and supply,
                  when it is instead engaged in a scheme to reduce competition
                  within the HHF Franchise System and extract larger
                  kickbacks from these vendors. HHF does not obtain group
                  or volume discounts on behalf of its franchisees;

               g) HHF leverages its Franchise System as a means to secure
                  massive fees from vendors, granting approval to Approved
                  Suppliers who gain access to HHF’s franchisees as a quid pro
                  quo for kickbacks in the form of both fixed fees and
                  percentage-based transactional fees, enriching HHF from
                  increased costs borne by franchisees for the Mandatory
                  Products and Services.        HHF never discloses to its
                  franchisees this inherent and abusive conflict of interest from
                  its collusion with manufacturers and/or distributors to
                  increase its own revenue on the backs of its franchisees;

               h) Despite the fact that franchisees pay initial and annual fees
                  associated with marketing, HHF introduces additional

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                     undisclosed marketing (and other) programs and fees as a
                     means to generate additional revenue for itself to the
                     detriment of franchisees, and without any prior disclosure to
                     or agreement of HHF franchisees;

                 i) HHF ceased and suspended all of its marketing efforts and
                    activities during the time of the Covid pandemic, yet
                    continues to charge franchisees for the services HHF is not
                    providing;

                 j) Use the threat and imposition of retaliation and retribution
                    against franchisees who in any way dispute or raise questions
                    about HHF’s introduction of programs, fees, or expenses
                    forced on franchisees without any prior disclosure or
                    agreement, or against franchisees who, when presented with
                    HHF programs falsely represented as optional, opt out of
                    same;

                 k) Using its customer rewards program as a means to allow
                    customers to redeem points earned at point-of-origin
                    franchisee hotels for free hotel stays, depriving the
                    franchisees of this direct revenue, but then reimbursing
                    franchisees only a small percentage of the redeemed points
                    (usually less than 30%) and retaining the remainder for itself
                    and

                 l) Maintaining an IHG Owners Association, represented as a
                    means for franchisees to consider and discuss, and make
                    recommendations on common problems relating to the
                    operation of System Hotels which HHF will seek the advice
                    of and to promote the best interests of all persons using the
                    System but, in reality, this representation is false and illusory.
                    Franchisees are afforded no voice, their recommendations are
                    summarily disregarded, and the Owners Association is
                    populated almost entirely by IHG employees to serve the
                    purpose of enriching IHG, HHF, and SCH, avoiding
                    accountability, and imposing additional financial hardship on
                    franchisees.

        194.   In its performance of the License Agreements, in addition to the misconduct set

forth hereinabove, HHF, IHG and SCH routinely violate the duty of good faith and fair dealing

with franchisees, by, inter alia:

                 a) Instead of using the collective bargaining power of its
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                    franchisees to negotiate discounted rates on products
                    necessary to the operation of the hotels from Approved
                    Suppliers, allowing – and effectively requiring – the
                    Approved Suppliers to charge rates for Mandatory Products
                    and Services well in excess of the market rate, by requiring
                    the Approved Suppliers to pay large kickbacks (“rebates”) to
                    HHF in order to earn the privilege of doing business with
                    franchisees;

                b) In negotiations with Approved Suppliers, prioritizing the size
                   of the kickback an Approved Supplier is willing to pay HHF
                   over the securing of a group discount or ensuring high quality
                   of Mandatory Products and Services;

                c) Forcing franchisees to use a specific credit card processor,
                   which charges higher fees and other chargebacks causing
                   franchisees to lose significant monies;

                d) Forcing franchisees to purchase other Mandatory Products
                   and Services from Approved Suppliers, when the Mandatory
                   Products and Services provided by certain Approved
                   Suppliers are of low quality and priced above a fair market
                   rate;

                e) Unfairly and wrongfully penalizing franchisees who “opt
                   out” of allegedly voluntary programs;

                f) Refusing to negotiate in good faith with franchisees in the
                   wake of the Covid-19 pandemic;

                g) Otherwise imposing onerous and unnecessary fees, penalties,
                   and upon franchisees and

                h) Otherwise acting to profit at the expense of franchisees’
                   financial health.

        195.   Due to HHF’s, IHG’s and SCH’s ongoing breaches of their express and implied

contractual duties, franchisees have suffered monetary damages.

                                           COUNT II

                                   Breach of Fiduciary Duty
                                      (Against IHGOA)


        196.   Plaintiff incorporates by reference all the foregoing allegations as if set forth at
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length herein.

        197.     Although franchisees are not required to be members of the IHGOA, and may

voluntarily opt-in or opt-out, franchisees who opt-in become IHGOA members and are required

to pay membership dues annually. Irrespective of franchisee opt-ins (or opt-outs), however, the

IHGOA holds itself out as, is required to, and purports to act and negotiate on behalf of all

franchisees as the ostensible “voice of the owners.”

        198.     IHGOA assumed a fiduciary duty to represent the interests of its member

Franchisees in negotiations with HHF, because:

                  a) IHGOA represents in its mission statement to the Franchisees
                     that its purposes is to “advocate responsibly for the greater
                     good of the membership,”

                  b) IHGOA represents that it “instill[s] trust with open and
                     honest communications,”

                  c) IHGPA promotes that its “core values guide our everyday
                     actions as we seek to fulfill our mission of helping members
                     maximize their investment in IHG hotel brands,”

                  d) In cooperation with HHF, the IHGOA accepts annual fees
                     from Franchisees who opt-in, and does so with the implied
                     and/or explicit representation that these fees are in exchange
                     for IHGOA’s faithful representation of the interests of all
                     Franchisees, including those who do not opt-in as IHGOA
                     members.

        199.     IHGOA routinely violates its duty of loyalty to Franchisees, in that its board

members accept preferential treatment and other benefits from HHF in exchange for their

compliance with and approval of onerous measures proposed by HHF, including but not limited

to the imposition of new or increased fees on Franchisees, the imposition of new requirements and

penalties through modification of the System, and the entry into new agreements with Approved

Suppliers for Mandatory Products and Services that inure to the benefit of HHF while imposing

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onerous costs on Franchisees.

        200.      Upon information and belief, the kickbacks received by IHGOA board members

include, but are not limited to, algorithmic preferences in HHF’s reservation system, such that their

franchised properties appear higher in guests’ hotel search results than the properties of other

franchisees.

        201.      The IHGOA board is utterly unresponsive to Franchisee’s concerns with relation

to franchising.

        202.      Franchisees have suffered damages due to IHGOA’s failure to loyally represent

them in an amount to be determined at trial.

        203.      IHGOA’s actions and omissions were willful, outrageous, oppressive, and wanton.

                                             COUNT III

                                        Declaratory Judgment
                                           (Against HHF)

        204.      Plaintiff incorporates by reference all the foregoing allegations as if set forth at

length herein.

        205.      As a condition of receiving the benefits of operating a HHF franchise, HHF uses

its vastly superior bargaining power to require all franchisees to accept the grossly unequal terms

of the Agreements, which, as to many key provisions, is essentially a “take it or leave it” contract

of adhesion.

        206.      The following provisions of the License Agreement (hereafter “the Unconscionable

Provisions”) together and/or individually are substantively unconscionable:

                   a) HHF’s open-ended right to impose mandates, fees and costs
                      on franchisees by adding, modifying, altering or deleting
                      elements of its System or its Standards in its sole judgment
                      and discretion, which extends to (but is not limited to):

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                  marketing programs and materials; specifications and
                  policies for construction; programs for inspecting the Hotel;
                  and vague, arbitrary and amorphous “other requirements as
                  stated or referred to in this License and from time to time in
                  Licensor’s brand standards for System Hotels” (defined as
                  the “Standards”). (Agreement, §1);

               b) HHF’s open-ended imposition upon Plaintiff as one of its
                  responsibilities to “strictly comply in all respects with the
                  Standards (as they may from time to time be modified or
                  revised by [HHF]” which does no less than attempt to allow
                  HHF to impose upon Plaintiff and demand compliance with
                  whatever it deems beyond any explicit contractual
                  agreement. (Agreement, §3(A)(5));

               c) HHF’s mandate that Plaintiff strictly comply with its
                  “standards and specifications for goods and services used in
                  the operation of the Hotel and other reasonable requirements
                  to protect the System and the Hotel from unreliable sources
                  of supply”, and with all HHF’s requirements for services and
                  products used in Hotels, which serves as a pretext for HHF’s
                  collusion and kickback scheme with vendors and suppliers.
                  (Agreement, §3(A)(7));

               d) HHF’s unlimited ability to maintain and alter its “Standards”
                  imposed upon and required of franchisees with “wide
                  latitude,” and to modify or revise same at any time in its sole
                  discretion and without Franchisee knowledge or agreement.
                  (Agreement, §4(D)-(E));

               e) HHF’s illusory provision of a means by which franchisees
                  can approve its changes in the Standards only through HHF’s
                  Franchise Committee, and by purporting to afford Plaintiff a
                  means to appeal such changes while at the same time severely
                  restricting Plaintiff’s appeal rights which cannot be
                  “arbitrary, capricious or unreasonable” or not “for the
                  purpose for which intended” vis-à-vis not only HHF changes
                  in standards but also as to any other rights explicitly afforded
                  by the agreement. (Agreement, §5(A)-(D));

               f) HHF’s right to termination of the agreement for any violation
                  thereof, when HHF has given itself the right to extra-
                  contractually alter, modify, or revise Plaintiffs’ obligations at
                  any time and for any reason it may deem. (Agreement,
                  §§1(B), 12(B)-(C));

               g) HHF’s right to termination if Plaintiff “refuse[] to cooperate
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                     with” inspections or audits when, in fact, HHF charges
                     Plaintiff for all inspections and can impose them for any
                     reason at any time as a means to impose costs and fines on
                     Plaintiff and merely as a tool to enrich itself. (Agreement
                     §12(C)(13));

                 h) A provision providing for liquidated damages against
                    franchisees in the event of Franchisee’s early termination of
                    the Agreement, or HHF’s termination of the Agreement due
                    to Franchisee’s alleged breach, but not providing for
                    liquidated damages against HHF under any circumstances
                    (Agreement §12(E));

                 i) Provisions prohibiting Franchisee’s rights to pursue claims
                    and damages against HHF for HHF’s breaches of the parties’
                    agreement (Agreement §§14(B)(3), 14(E), 14(H));

                 j) A requirement that franchisees broadly reimburse HHF, its
                    affiliates, subsidiaries, officers, directors, agents, partners,
                    and employees, for any litigation regardless of which party
                    initiates same. (Agreement §§14(J)); and,

                 k) A provision requiring affirmative advisement of any trier of
                    fact that HHF has rights to make changes to the parties’
                    agreement “in the exercise of business judgment” and in
                    every such instance those rights which are not explicitly
                    contracted for are “adopted in good faith and is consistent
                    with the long-term overall interests of the System,” and
                    further prohibits any and all judges, mediators, and/or triers
                    of fact from applying their own judgment as opposed to
                    HHF’s. (Agreement, §14(N)).

        207.   The License Agreements are procedurally unconscionable because, at the inception

of the Agreements, HHF used its vastly superior bargaining position to require franchisees to

accept the grossly unequal Unconscionable Terms outlined above.

        208.   Specifically, as to the Unconscionable Terms, the License Agreements are

contracts of adhesion offered on a “take it or leave it” basis.

        209.   The Unconscionable Terms are not subject to negotiation.

        210.   HHF drafts the Agreements in their entirety.


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        211.     An actual, present, and justiciable controversy exists between Plaintiff and HHF

regarding the enforceability of the Unconscionable Provisions.

        212.     Pursuant to the Uniform Declaratory Judgment Act, 28 U.S.C. § 2201, Plaintiff

seeks declaratory judgment from this Court that the Unconscionable Provisions listed above are

unconscionable, illusory and/or unenforceable.

                                              COUNT IV

                            Violation of the Sherman Act, 15 U.S.C. § 1
                                           (Against HHF)

        213.     Plaintiff incorporates by reference all of the foregoing allegations as if set forth at

length herein.

        214.     There exists markets for ownership interests in hospitality franchises, in which

HHF maintains substantial market power.

        215.     A separate market exists for the related goods and services associated with the

operations of hospitality franchises, including but not limited to services, software, physical

furnishings, financial services, and food products (the “Mandatory Products and Services”).

        216.     HHF requires that franchisees purchase some or all of the Mandatory Products and

Services from vendors of its own choosing (the “Approved Suppliers”).

        217.     In order to obtain HHF’s approval to sell Mandatory Products and Services to

franchisees, HHF requires Approved Suppliers to pay substantial kickbacks to HHF, which it

refers to euphemistically as “rebates.”

        218.     Although HHF represents to franchisees that, in limiting the number of Approved

Suppliers from which franchisees may purchase Mandatory Products and Services, it seeks only

to obtain group discounts for Franchises and/or ensure consistent quality and adequate supplies


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for the franchise brand, in reality HHF chooses Approved Suppliers exclusively or primarily based

upon how large a kickback those Approved Suppliers are willing to pay HHF.

        219.   In actuality, the Mandatory Products and Services purchased from Approved

Suppliers are often of inferior quality, and sold at above-market prices, relative to similar products

sold by other vendors.

        220.   While HHF does purport to give franchisees the right to, at HHF’s discretion,

purchase Mandatory Products and Services from vendors other than the Approved Suppliers, in

practice HHF rarely, if ever, grants franchisees permission to do so.

        221.   At the time they entered into the Agreements, HHF concealed the nature of its

relationship with Approved Supplier from franchisees, in order to lock them into the onerous

Agreements and create excessive switching costs.

        222.   HHF also creates excessive switching costs through imposing onerous termination

terms on franchisees, such that upon termination or expiration of the Agreement, they may be

liable to pay (1) liquidated damages and (2) all outstanding fees and penalties in full, which, by

virtue of HHF’s right under the Agreements to unilaterally impose additional fees and penalties,

may be sufficient to prevent franchisees from exercising their termination rights, locking them into

the franchise system.

        223.   At all times relevant HHF had monopoly power, market power, and/or economic

power in the relevant Hospitality Franchise market, sufficient to force franchisees to purchase and

accept Mandatory Products and Services from Approved Suppliers.

        224.   By reason of the terms of the Agreements and the investments franchisees have

made in their franchises, coupled with the difficulties franchisees face in leaving the franchise

system, HHF has substantial power in the market for both Hospitality Franchises and the market

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for Mandatory Products and Services.

        225.   HHF manipulated its economic power in the Hospitality Franchise market to coerce

franchisees to purchase Mandatory Products and Services solely from Approved Suppliers,

through contractual provisions contained in the Agreements, as well as exploitation of pre-

contractual information deficiencies and post-contractual switching costs. Through these and other

means, HHF can and does coerce franchisees to purchase nearly of the Mandatory Products and

Services from Approved Suppliers.

        226.   Through the exercise of HHF’s economic power as alleged herein, HHF has

conditioned the purchase by franchisees of their franchises and their continued existence as

franchises upon the purchase of Mandatory Products and Services from Approved Suppliers.

        227.   As a direct and proximate result of HHF’s anti-competitive tying activity,

franchisees have been injured by being forced to pay above-market rates for inferior Mandatory

Products and Services.

        228.   A substantial amount of interstate commerce in Mandatory Products and Services

has been adversely affected by HHF’s actions. These actions impose an unreasonably negative

effect on competition in the marketplace, because HHF’s policy of coercing and conditioning the

purchase and operation of a franchise and on purchase by franchisees of Mandatory Products and

Services from Approved Suppliers forecloses the ability of vendors unwilling to pay kickbacks to

HHF from selling their Mandatory Products and Services to franchisees, even though the quality

of such Mandatory Products and Services is equal to if not better than the quality of what is

supplied by Approved Suppliers.

        229.   HHF’s tie of purchases of its franchises to purchase of Mandatory Products and

Services from Approved Suppliers imposes an unreasonable restraint upon commerce and is

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therefore per se unlawful in violation of Section One of the Sherman Act, 15 U.S.C. § 1, and has

caused damage to franchisees.

          230.   Alternatively, if HHF’s tying conduct is not per se unlawful, it is unlawful under

the rule of reason, in that the anti-competitive consequences of HHF’s conduct outweigh any pro-

competitive effects thereof. Not only does HHF’s conduct impose supra-competitive prices on

franchisees, it impedes the ability of other vendors to engage in competition with Approved

Suppliers to provide high quality Mandatory Products and Services at lower costs. Moreover,

consumers are injured in that they are forced to indirectly pay the kickbacks and excessive prices

for products charged to franchises by Approved Suppliers. There is no pro-business or efficiency

justification for the kickbacks and supra-competitive pricing, nor does any legitimate business

purpose require these practices.

                                              COUNT V

                                            Accounting
                                     (Against HHF & IHGOA)

          231.   Plaintiff incorporates by reference the foregoing allegations as if set forth at length

herein.

          232.   HHF owed franchisees express contractual duties not to charge fees which were not

contractually proscribed but nevertheless charges direct and indirect fees to Plaintiff which were

not authorized by the License Agreements.

          233.   Defendant IHGOA owed Plaintiff and Pennsylvania Franchisees express and

common law fiduciary duties of care, obedience, information and loyalty as a result of its special

position of trust and confidence, including as agent of Franchisees, to act in the best interests of

Franchisees.


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        234.   HHFs owes a duty to account for monies, including, but not limited to:

                a) An accounting of the rebates it has taken from Approved
                   Suppliers;

                b) An accounting of all charges associated with the PIP program
                   and all fees charged for Hotel inspections, re-inspections,
                   evaluations, preparation of PIP reports, and any and all fines;

                c) An accounting of all awards, redemptions, amounts
                   reimbursed to any Franchisee, to HHF, SCH, and IHG
                   associated with the IHG Rewards Club Hotel Rewards
                   Program;

                d) An accounting of any and all IHG Marketplace programs;

                e) An accounting of the Secure Payment Solution credit card
                   processing system;

                f) An accounting of all internet services and the SCH Merlin
                   communication service;

                g) An accounting of HHF’s Keycard System;

                h) An accounting of all in-room entertainment, SCH Studio,
                   Employee Safety Devices, reservation and all other
                   equipment, software, and services for property-level
                   technology and telecommunications;

                i) An accounting of the gift card program;

                j) An accounting of all mandated food and beverage programs;

                k) An accounting of all furniture, furnishings, linens, food
                   products, utensils, and goods for guests; and,

                l) An accounting of its use of all other fees and penalties
                   imposed upon franchisees.

          235. IHGOA owes a duty to account for monies, specifically its use of the association

  fee provided by Franchisees who have opted-in.

          236. Upon information and belief, a request for such an accounting from HHF or

  IHGOA would be futile.

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             237. Franchisees are unable to determine the amounts due to them without an

  accounting and there is no adequate remedy at law without such an accounting, or such legal

  remedies would be difficult, inadequate, or incomplete.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff BENSALEM LODGING ASSOCIATES, LLC, on behalf of

itself and all those similarly situated, respectfully requests that this Honorable Court:

        A.       Enter an order certifying this case as a class action on behalf of
                 the Class defined herein;

        B.       Enter an order against HHF, IHG and SCH in favor of Plaintiff
                 and the Class for consequential and/or compensatory damages in
                 an amount to be proven at trial, and specific performance of the
                 License Agreements;

        C.       Enter an order against HHF in favor of Plaintiff and the Class for
                 actual damages and treble damages, and reasonable attorney’s fees
                 arising out of HHF’s violations of the Sherman Act;

        D.       Enter a permanent injunction prohibiting HHF’s unlawful tying
                 conduct;

        E.       Enter a judgment against IHGOA in favor of Plaintiff and the
                 Class for compensatory and punitive damages;

        F.       Declare that the Unconscionable Provisions of the Agreements,
                 specified above, are unconscionable illusory and/or unenforceable
                 against Plaintiff and the Class Members;

        G.       Enter an order against HHF in favor of Plaintiff and the Class
                 Members entitling Plaintiff and the Class Members to an
                 accounting of all fees paid by them to SCH and HHF, and all
                 rebate payments made to HHF, IHG and SCH by Approved
                 Suppliers and

        H.       Award such other relief as this Court deems necessary and
                 appropriate.




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                                       JURY DEMAND

                Plaintiff demands a trial by jury on all issues properly so tried.

Dated: June 29, 2021



                                                     Respectfully submitted,




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                                                     Justin E. Proper
                                                     WHITE AND WILLIAMS LLP
                                                     1650 Market Street
                                                     One Liberty Place, Suite 1800
                                                     Philadelphia, PA 19103-7395
                                                     Phone: 215.864.7165
                                                     properj@whiteandwilliams.com

                                                     Andrew P. Bleiman (pro hac vice
                                                     forthcoming)
                                                     Mark Fishbein (pro hac vice forthcoming)
                                                     Marks & Klein, LLP
                                                     1363 Shermer Road, Suite 318
                                                     Northbrook, Illinois 60062
                                                     T: (312) 206-5162
                                                     F: (732) 219-0625
                                                     andrew@marksklein.com
                                                     mark@ marksklein.com

                                                     Justin M. Klein (pro hac vice forthcoming)
                                                     Marks & Klein, LLP
                                                     63 Riverside Avenue
                                                     Red Bank, New Jersey 07701
                                                     T: (732) 747-7100
                                                     F: (732) 219-0625
                                                     justin@marksklein.com

                                                     Attorneys for Plaintiff & the Class




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